 

COMMONWEALTH OF PENNSYLVAN|A
GOVERNOR’S OFF|CE OF GENERAL COUNSEL

February 23, 2018

Via Hand Delivel_'y

Honorable Christopher C. Conner

U.S. District Court for the Middle District of Pennsylvania
Ronald Reagan Federal Bldg. & U.S. Courthouse

228 Walnut Street

Harrisburg, PA 17101

Re: Corman, et al., v. Torres, et al., No. 1:18-cv-00443-CCC

Dear Judge Conner:

l write on behalf of Defendants, Robert Torres, in his official capacity as Acting
Secretary of the Commonwealth of Pennsylvania, and Jonathan M. Marks, in his official Capacity
as Commissioner of the Bureau of Commissions, Elections, and Legislation. l write to give the
court some potentially useful information regarding procedural matters and to suggest several
procedural steps. I am aware that Your Honor’s procedures discourage correspondence with the
Court; however, given the drastic and immediate relief that Plaintiffs seek, and the serious
impact that relief would have upon an upcoming election and litigation pending in other courts,
including the United States Supreme Court, l believe it is extremely important to communicate
with the Court as rapidly as possible.

Procedural Background

 

Plaintiffs’ Complaint asks this Court to reimpose the Pennsylvania Congressional
Redistricting Act of 201 l, 25 P.S. §§ 3596.101, et seq. (the “2011 Plan”). As the Court may be
aware, three other lawsuits challenging the 2011 Plan are pending before other courts:

0 Agre, et al., v. Wolf et al., was filed in the Eastern District of Pennsylvania as
Case No. 17-4392, and tried before a three-judge panel consisting of Third Circuit
Chief Judge D. Brooks Smith, Third Circuit Judge Patty Shwartz, and Eastern
District of Pennsylvania Judge Michael Baylson. This case is on appeal to the
United States Supreme Court.

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0 Diamond, et al., v. Torres, et al., No. 5:17-cv-05054-l\/[MB, is pending in the
Eastern District of Pennsylvania before a three-judge panel consisting of Third
Circuit Judge Kent Jordari, Eastern District of Pennsylvania Judge l\/lichael
Baylson, and Middle District of Pennsylvania Judge Yvette Kane. This case is
currently stayed.

0 League of Women Voters, et al., v. Commonwealth of Pennsylvania, et al., No.
159 MM 2017, is pending before the Supreme Court of Pennsylvania This is the
case described in Plaintiffs’ Complaint. Two days ago, on February 21, 2018,
certain legislator-respondents in that case filed an Emergency Application for
Stay with the United States Supreme Court. A copy of that Application, which
makes Elections Clause arguments identical to those made here and requests relief
identical to that sought in Plaintiffs’ l\/lotion for Temporary Restraining Order, has
been filed with the Court as Exhibit G to the Brief in Support of l\/lotion to
lntervene as Defendants, Docket No. 7..l

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First, a judge of this District, The Honorable Yvette Kane, is already sitting on a three-
judge panel in the Diamond case, and is familiar with the 2011 Plan and the issues involved in
this case. Defendants therefore request that the Court consider whether it would further judicial
economy and efficiency to place this case before Judge Kane, pending appointment of a three-
judge panel.

Second, Plaintiffs have appropriately requested a three-judge panel under 28 U.S.C. §
2284(a). Defendants join Plaintiffs in that request, and respectfully request that the Court defer
any action until a three-judge panel has been appointed

Third, the Application for Stay before the United States Supreme Court raises issues and
arguments that are identical to those raised in this case. We believe that the U.S. Supreme Court
is likely to address the Application swiftly, and that that Court’s decision will have a significant,
and perhaps dispositive, effect on Plaintiffs’ claims. Accordingly, Defendants respectfully
submit that this Court should defer any action on this lawsuit until the U.S. Supreme Court has
disposed of the application for stay.

Finally, Plaintiffs’ cause of action and l\/Iotion for a Temporary Restraining Order face
significant hurdles, including without limitation Plaintiffs’ lack of standing, estoppel, preclusion,

 

1 This is the third Application for Stay that legislator-respondents have filed with the U.S.
Supreme Court in the League of Women Voters case. Justice Alito denied the first two
applications on February 5, 2018, without referring them to the full Court. See Turzaz` v. League
of Women Voters ofPa., No. 17A795 (U.S.); McCann v. League Of Women Voters ofPa., No.
17A802 (U.S.).

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Rooker-Feldman and other abstention doctrines, laches, inability to show irreparable harm,
inability to show (or, indeed, even attempt to show) the requirements for issuance of a temporary
restraining order by a single judge set forth in 28 U.S.C. § 2284(b)(3), and inability to succeed
on the merits. Their Complaint is also rife with legal and factual errors, to which Defendants
must respond. Accordingly, at such time as the Court deems it appropriate to address the
question of whether Plaintiffs should receive temporary or other relief, Defendants request the
opportunity to file a brief in opposition to their Motion and to be heard at argument

Thank you for your attention to this important matter.

Respectfully,

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Thomas P. Howell
Deputy General Counsel

Enclosure

cc: All counsel of record (by email)

